       Case: 4:22-cv-00062-SA Doc #: 217 Filed: 07/26/24 1 of 4 PageID #: 3409




                       THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


DYAMONE WHITE; DERRICK
SIMMONS; TY PINKINS;
CONSTANCE OLIVIA SLAUGHTER
HARVEY-BURWELL                                                                      PLAINTIFFS

VS.                                               CIVIL ACTION NO. 4:22-cv-00062-SA-JMV

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES
in his official capacity as Governor of
Mississippi; LYNN FITCH in her
official capacity as Attorney General of
Mississippi; MICHAEL WATSON in
his official capacity as Secretary of
State of Mississippi                                                              DEFENDANTS


      DEFENDANTS’ MOTION FOR THE COURT TO TAKE JUDICIAL NOTICE


       Defendants State Board of Election Commissioners, Tate Reeves, in his official capacity

as Governor of Mississippi, Lynn Fitch, in her official capacity as Attorney General of Mississippi,

and Michael Watson, in his official capacity as Secretary of State (collectively “Defendants”)

submit this Motion requesting the Court take Judicial Notice of the facts and information identified

in and attached to this Motion under Rule 201(b) and 201(c)(2) of the Federal Rules of Evidence.

In support of this Motion, Defendants state as follows:

       1.      Defendants seek judicial notice of the following facts: Census data from the U.S.

Census Current Population Survey’s Reported Voting and Registration, by Sex, Race and Hispanic




                                                 1
       Case: 4:22-cv-00062-SA Doc #: 217 Filed: 07/26/24 2 of 4 PageID #: 3410




Origin, for States in 1986, 1988, 1990, 1992, 1994, 1996, 1998, 2000, 2002, 2004, 2006, 2008,

2010, 2012, 2014, 2016, 2018, 2020, and 2022.1

       2.      “The court must take judicial notice if a party requests it and the court is supplied

with the necessary information.” FED. R. EVID. 201(c)(2). “The doctrine of judicial notice permits

a judge to consider a generally accepted or readily verified fact as proved without requiring

evidence to establish it.” United States v. Berrojo, 628 F.2d 368, 369 (5th Cir. 1980). Taking

judicial notice of Census data is appropriate, relevant for this case, and will streamline the

presentation of evidence at trial. See Shelby County, Ala. v. Holder, 570 U.S. 529, 535 (2013)

(using Census Bureau data to determine that “African-American voter turnout has come to exceed

white voter turnout in five of the six States originally covered by § 5[.]”); Hollinger v. Home State

Mut. Ins. Co., 654 F.3d 564, 571-72 (5th Cir. 2011).

       3.      Under Federal Rule of Evidence 1006, Defendants include, as Exhibit T, a table

summarizing the data above.

       4.      In support of this Motion, Defendants incorporate their supporting Memorandum being

filed simultaneously with this Motion. Plaintiffs have advised Defendants that they intend to oppose

this Motion.

       WHEREFORE, Defendants State Board of Election Commissioners, Tate Reeves, in his

official capacity as Governor of Mississippi, Lynn Fitch, in her official capacity as Attorney

General of Mississippi, and Michael Watson, in his official capacity as Secretary of State request

that the Court grant Defendants’ Motion for Judicial Notice and take judicial notice of the above-

listed facts as “generally known within the trial court’s territorial jurisdiction” and facts which




       1
         Attached as Exhibits A through S are the Tables from the Census Current Population Surveys in
1986 through 2022.

                                                  2
       Case: 4:22-cv-00062-SA Doc #: 217 Filed: 07/26/24 3 of 4 PageID #: 3411




“can be accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” FED. R. EVID. 201(b).

       This the 26th day of July, 2024.

                                          Respectfully submitted,

                                          DEFENDANTS STATE BOARD OF ELECTION
                                          COMMISSIONERS, TATE REEVES, IN HIS
                                          OFFICIAL CAPACITY AS GOVERNOR OF
                                          MISSISSIPPI, LYNN FITCH, IN HER OFFICIAL
                                          CAPACITY AS ATTORNEY GENERAL OF
                                          MISSISSIPPI, AND MICHAEL WATSON, IN HIS
                                          OFFICIAL CAPACITY AS SECRETARY OF
                                          STATE OF MISSISSIPPI

                                          /s/ Charles E. Cowan
                                          CHARLES E. COWAN (MSB #104478)
                                          MICHAEL B. WALLACE (MSB #6904)
                                          WISE CARTER CHILD & CARAWAY, P.A.
                                          Post Office Box 651
                                          Jackson, Mississippi 39205-0651
                                          Tel.: (601) 968-5500
                                          Fax: (601) 944-7738
                                          mbw@wisecarter.com
                                          cec@wisecarter.com


                                          REX M. SHANNON III (MSB #102974)
                                          BETH WINDSOR USRY (MSB #99267)
                                          JUSTIN L. MATHENY (MSB #100754)
                                          STATE OF MISSISSIPPI
                                          OFFICE OF THE ATTORNEY GENERAL
                                          CIVIL LITIGATION DIVISION
                                          Post Office Box 220
                                          Jackson, Mississippi 39205-0220
                                          Tel.: (601) 359-4184
                                          Fax: (601) 359-2003
                                          rex.shannon@ago.ms.gov
                                          beth.usry@ago.ms.gov
                                          justin.matheny@ago.ms.gov




                                             3
       Case: 4:22-cv-00062-SA Doc #: 217 Filed: 07/26/24 4 of 4 PageID #: 3412




                                 CERTIFICATE OF SERVICE

         I, Charles E. Cowan, one of the attorneys for the above-named State Defendants, do hereby
certify that I have this date caused to be filed with the Clerk of the Court a true and correct copy
of the above and foregoing via the Court’s ECF filing system, which sent notification of such filing
to all counsel of record.

       THIS the 26th day of July, 2024.

                                                             s/ Charles E. Cowan
                                                             CHARLES E. COWAN




                                                 4
